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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                              *

SHAWNAY RAY, et al.                           *

       Plaintiffs                             *
                                                         CIVIL NO. JKB-19-1299
v.                                            *

T-MOBILE US, INC.                             *

       Defendant                              *

*      *      *      *      *      *      *       *      *      *      *      *      *

                                          ORDER

       In light of the Notice of Dismissal With Prejudice filed on May 8, 2020, (ECF No. 24),

with the dismissal with prejudice accomplished by operation of law pursuant to Rule 41(a)(1),

Federal Rules of Civil Procedure, the Court DIRECTS the Clerk to CLOSE the case.

       SO ORDERED.

       DATED this 8th day of May, 2020.


                                                  BY THE COURT:


                                                  _____________________/s/_____________
                                                  James K. Bredar
                                                  Chief Judge
